         Case 1:23-cr-00229-CJN         Document 96        Filed 01/25/25        Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

    v.                                               Case No. 23-CR-229 (CJN)

 TAYLOR TARANTO,

      Defendant.

UNITED STATES’ MOTION TO DISMISS CERTAIN COUNTS IN THE INDICTMENT
                         WITH PREJUDICE

         The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this motion.

         The government hereby moves to dismiss Counts Seven, Eight, Nine, Ten, and Eleven with

prejudice. The government cites to the Executive Order dated January 20, 2025, Granting Pardons

and Commutation of Sentences for Certain Offenses Relating to the Events at Or Near the United

States Capitol on January 6, 2021, as the reason for the dismissal of these five counts.

                                                       Respectfully submitted,

                                                       EDWARD R. MARTIN, JR.
                                                       United States Attorney
                                                       D.C. Bar No. 481866


                                                       ____________/S/_______
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